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Deposition of Maureen Rush                                                Evelyn Cintron v. City of Philadelphia, et al.


   1                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
   2

   3     _______________________________
                                        :
   4     EVELYN CINTRON,                :
                       Plaintiff        :Civil Action No. 19-4078
   5                                    :
                      vs.               :
   6                                    :
         CITY OF PHILADELPHIA, et al., :
   7                   Defendants       :
         _______________________________:
   8

   9

 10
                        Deposition of:         Maureen Rush
 11
                        Taken by          :    Thomas O. Fitzpatrick, Esquire
 12
                        Before            :    Lisa L. Miller, RPR
 13
                        Date              :    Friday, November 3, 2023
 14
                        At                :    Zoom Videoconference
 15

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 11                                          (None.)

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 1            PROCEEDINGS                                          1     Q. Okay. And as of -- as of when did you retire?
 2
               (10:08 a.m.)                                        2     A. I stepped down as Vice President for Public
 3                 STIPULATION                                     3 Safety Chief of Police in the end of 2021, and then I --
 4        It is hereby stipulated by and between                   4 in 2022, I remained working as a senior advisor to my
 5
      counsel for the respective parties that signing,             5 previous boss, who is the senior executive vice
       sealing, certification, and filing are hereby
 6
     waived; and that all objections except as to the              6 president, through the end of 2022, and then I fully
     form of the question are reserved to the time of
 7
                     trial.                                        7 retired from Penn.
 8               MAUREEN RUSH,                                     8     Q. Okay. Now, as the VP of public safety, did you
 9
     called as a witness, being duly sworn or affirmed,            9 contemporaneous to that position hold a seat on the
         was examined and testified as follows:
10                EXAMINATION                                     10 board of directors or board of grievances for the
11 BY ATTORNEY FITZPATRICK:                                       11 University of Pennsylvania?
12     Q. Good morning, Ms. Rush.                                 12     A. I'm sorry. On the -- on the board of the
13     A. Good morning.                                           13 University of Pennsylvania?
14     Q. Ms. Rush, my name is Thomas Fitzpatrick. I              14     Q. Yes.
15 represent Ms. Evelyn Cintron, Lieutenant Evelyn Cintron        15     A. No, I was not a member of the board of the
16 in this case. And also on the phone -- on the call here        16 University of Pennsylvania.
17 is Attorney Isaac Green. And as you heard us say               17     Q. Okay. Did you hold any other positions
18 earlier, Ms. Cintron is on the video conference call and       18 simultaneous to your position as VP of Public Safety?
19 you're joined by your attorney, Mr. Golden, correct?           19     A. Chief of Police.
20     A. That's correct.                                         20     Q. Chief of Police.
21     Q. Okay. And he's right there in the room next to          21       Okay. And who did you report to in that
22 you; is that right?                                            22 position?
23     A. He is right next to me, yes.                            23     A. I reported to the Senior Executive Vice
24     Q. Okay. Ms. Rush, we're going to be taking your           24 President Craig Carnaroli, C-a-r-n-a-r-o-l-i.
                                                         Page 5                                                             Page 7
 1 deposition this morning.                                        1
                                                                 Q. Okay. Now, you kind of started at the end of
 2       Now, have you ever been deposed before?           2 your career and retirement, Ms. Rush. But, just
 3     A. I have.                                          3 briefly, why don't you tell us about yourself and how
 4     Q. Okay. Approximately how many times have you 4 you came to become the Vice President of Public Safety
 5 been deposed?                                           5 and Chief of Police at the University of Pennsylvania.
 6     A. Fifteen, give or take.                           6     A. I will try to truncate 45 years for us all.
 7     Q. Okay. So I'm sure that you're quite familiar     7       So I started out my law enforcement career in
 8 with kind of the ground rules of a deposition and that  8 1976 as one of the first 100 women to work street patrol
 9 kind of thing.                                          9 in the City of Philadelphia. I was assigned to the 25th
10       I'm not asking you to guess. If you can          10 District and then subsequently went up the ranks.
11 remember the things that I'm asking you about, great,  11       I retired in 1994 as a lieutenant. I went over
12 please give us that information.                       12 to the University of Pennsylvania. My first assignment
13       You know you need to answer verbally so that     13 there was Director of Victim Support and Special
14 your answers can be recorded, of course. And if at any 14 Services. That was '94 through '96.
15 point you need to take a break, I'm more than happy to 15       And in '96, I was appointed Chief of Police --
16 allow you to do so. I just ask that if there's a       16 Chief of the Penn Police Department, the same Penn
17 question pending, you answer that question prior to    17 Police -- I worked closely with Philadelphia Police. I
18 taking that break. Is that okay?                       18 did that position through 2000.
19     A. That's fine.                                    19       In 2000, I became the Interim Vice President
20     Q. Okay. Now, Ms. Rush, are you -- are you         20 for Public Safety and then appointed officially by the
21 currently employed by the University of Pennsylvania?  21 Board of Trustees in 2001 and then subsequently retired
22     A. I am not.                                       22 in 2021 from that position.
23     Q. Okay. Are you retired?                          23     Q. Okay. And you said that back in 1976, when you
24     A. I am.                                           24 started with the Philadelphia Police Department, you

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 1 were one of the first 100 women to work as a police            1
                                                                  A. I'm on the executive board and I'm on the
 2 officer on foot patrol in Philadelphia in 1976; is that   2 finance board and --
 3 right?                                                    3    Q. Okay.
 4     A. That's correct.                                    4    A. -- I believe I'm still on the nominations board
 5     Q. Okay. And so then I take it that in 1994, when     5 as well.
 6 you left the police department as a lieutenant, I take    6    Q. Okay. And so, Ms. Rush, although you can't
 7 it that at that time there were relatively few women in   7 recall exactly when you took on those committee
 8 leadership positions?                                     8 assignments, is it safe to say that once you took those
 9     A. Where are you speaking about?                      9 assignments on you remained a part of those committees
10     Q. Philadelphia Police Department by 1994.           10 until this present moment?
11     A. Actually, there was a deputy commissioner when    11    A. Yes.
12 I was leaving and women had started to be in higher      12    Q. Okay. And back in 2016 and 2017 -- we could
13 ranks in a decent number, so -- and many more women were 13 say '16 through '19 -- were you part of those
14 hired. I don't know the exact number, but somewhere      14 committees?
15 around 1500 or more, and many of those women were now at 15    A. Yes.
16 the rank of sergeant or above.                           16    Q. Okay. Now, what are some of your duties as it
17     Q. Okay. You specifically recall at least one        17 relates to the Executive Board Committee?
18 deputy commissioner back then?                           18    A. You know, it's pretty standard for most boards
19     A. Yes, I do.                                        19 you're involved in in a way that you're going to do
20     Q. Now, at what point did you become involved with   20 development work, raise money for the board, for the
21 the Police Athletic League?                              21 Police Athletic League, ensure that we're just making
22     A. I believe I came on the board in 2000.            22 sure -- make sure, you know, the budget's good. So, you
23     Q. Okay. And how did you -- how did you become a     23 know, it's a standard executive board meeting.
24 member of the Police Athlete League Board? Does Penn     24        I was -- I was a member. I was not -- I was
                                                         Page 9                                                           Page 11
 1 have an affiliation with the Police Athlete League?            1 never president or chair of the board.
                                                                                                       So, you know, it
 2     A. No. My -- my previous boss who was the vice        2 was just making sure of the strategic direction and
 3 president of public safety was -- held a position on the  3 financial solvency of the board and to be a
 4 board and when he retired I was asked to assume that      4 representative in the community to help raise money at
 5 position.                                                 5 various events.
 6     Q. Okay. And what was his name, your previous         6    Q. So then are you telling me that you -- you
 7 boss?                                                     7 didn't have any specific responsibilities related to
 8     A. Tom Seamon, S-e-a-m-o-n.                           8 interactions with the Philadelphia Police Department and
 9     Q. Okay. And this is your previous boss at the        9 PAL; is that right?
10 University of Pennsylvania?                              10    A. Well, no. I mean, it kind of goes hand in
11     A. That's correct.                                   11 hand. The Police Athletic League has a commanding
12     Q. Okay. And so you were asked to come onto the 12 officer of the police. And at the time we had -- we
13 board at the Police Athletic League and that's around    13 currently have an executive director. And in the years
14 2000, you said?                                          14 that you're talking about, we had an executive director.
15     A. Yes.                                              15 And so there's a lot of interaction with the
16     Q. Okay. And are you a member of any committees 16 Philadelphia Police both in PAL but also in my role at
17 at that time?                                            17 Penn.
18     A. I became a member of the Executive Board and      18    Q. Okay. Well, I want to limit it to PAL at this
19 Finance Board. I don't recall the exact timing of it.    19 point. And the executive director during those years,
20     Q. Okay. Well, let me ask you this: Are you          20 was that Ted Quali?
21 still active with the Police Athletic League Board?      21    A. Ted Quali, yes.
22     A. I am.                                             22    Q. Okay. And so when I'm asking you about your
23     Q. Okay. And what are your current committee         23 duties as a member of the Executive Committee, just so
24 positions?                                               24 that we're clear, what I'm asking you is, did you have

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 1 any specific assignments such as lialson to the police           1 becomes a commander at PAL; yes?
 2 department or liaison to a particular PAL center or              2    A. She becomes the commanding officer of the
 3 anything of that nature?                                         3 police PAL officers, yes.
 4       I understand that all Board members have                   4    Q. Okay. And just so that we're clear -- I think
 5 general responsibilities, but did you have any specific          5 we understand the structure from prior deposition
 6 duties as it related to your interaction with the police         6 testimony.   But I'll certainly give you the opportunity
 7 representatives?                                                 7 to explain the structure of the PAL relationship to the
 8    A. No.                                                        8 police department and that partnership.     So why don't
 9    Q. Okay. Now, that was for the Executive Board                9 you tell us about that.
10 Committee.                                                      10    A. So the police department and the -- and the
11       Did you have any such duties as it related to             11 employees of the police department, the police officers,
12 your efforts on the Finance Committee?                          12 the commanding officer, who was, again, a sworn officer,
13    A. No.                                                       13 in this case lieutenant, is different than the civilian
14    Q. Okay. And what about the Nomination Committee?            14 employees who are working for the board which is a
15    A. No.                                                       15 501(c)(3), and that -- there is -- the police commander
16    Q. Okay. Now, do recall at some point the PAL                16 oversees the police officers who are assigned to the PAL
17 Board having an interview or a meeting with Ms. Evelyn          17 detail. And that's what these officers do every day.
18 Cintron regarding her becoming the police commander for         18 It's a full -- they are transferred into PAL.That
19 the police side of the Police Athletic League?                  19 commanding officer is their commanding officer for all
20    A. Yes.                                                      20 aspects of their duties.
21    Q. Okay. Do you recall when that was?                        21       The executive director reports to the board of
22    A. I don't.                                                  22 directors and is responsible for the strategic mission,
23    Q. Okay. And do you recall most of the PAL board             23 you know, employment of all the civilian staff.
24 members being present for that meeting?                         24       The police commander does not report to the
                                                         Page 13                                                                Page 15
 1    A. No.                                                        1 board but reports inside the Philadelphia Police
 2    Q. Okay. Who do you recall being present for that             2 Department, so whoever the commissioner designated.
 3 meeting?                                                         3     Q. Okay. And let me ask you this: During your
 4    A. I recall Ron Rabena, Bernie Prazenica. I don't             4 time as a police officer, did you have any involvement
 5 remember if there was anyone else there. Those are the           5 with PAL?
 6 two that I remember.                                             6     A. I'm sure I did. I was -- I was a lieutenant in
 7    Q. And -- and yourself?                                       7 the 25th District and I'm sure, you know, we came across
 8    A. Yes.                                                       8 PAL.   But I wasn't a member of the board at that point.
 9    Q. And just so that we're clear, I'm asking you               9    Q. You were not a member of the board, obviously,
10 about a meeting regarding the actual hiring, or I should        10 but were you -- were you assigned to the PAL detail at
11 say, the promotion or assignment of Evelyn Cintron to           11 any time during your service as a police officer?
12 take over as commander at PAL. I'm not asking about any         12    A. No, I was not.
13 planning meetings or anything like that. I'm asking you         13    Q. Okay. And the -- so PAL was a stand-alone
14 about a meeting that took place prior to her actual             14 501(c)(3) organization, correct?
15 assignment.                                                     15    A. Correct.
16    A. Correct. Yes.                                             16    Q. And then you have the Philadelphia Police
17    Q. Okay. And so you only recall three people                 17 Department and in tandem they work the Police Athletic
18 being at that meeting with Ms. Cintron?                         18 League; is that right?
19    A. Correct.                                                  19    A. Correct.
20    Q. Okay. Was there a vote taken regarding                    20    Q. And what you've just explained is that Ted
21 Ms. Cintron becoming the commander at PAL?                      21 Quali is the executive director and he reports to the
22    A. There was no vote, but there was feedback                 22 PAL board; is that right?
23 provided to the police department.                              23    A. Correct.
24    Q. Okay. And shortly thereafter, Ms. Cintron                 24    Q. And Lieutenant Cintron is the commanding
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 1 officer back -- at this time, in 2016, she's the                 1     Q. Okay. Do you recall any type of budgeting and
 2 commanding officer of the police personnel at PAL?               2 allotment being made for repairs at the Wissinoming
 3    A. Correct.                                                   3 Center?
 4    Q. Okay. There is some level of collaboration                 4     A. Not specifically.
 5 between the two, isn't there?                                    5     Q. Do you recall litigation related to the
 6    A. Yes.                                                       6 condition of the PAL center at Wissinoming?
 7    Q. Okay. Can you tell us about that?                          7     A. No, I do not.
 8    A. The mission of PAL is helping kids, as the logo            8     Q. Do you recall litigation related to the
 9 says, and the police assigned to the various PAL centers         9 condition of any of PAL centers?
10 are fulfilling the mission of the Police Athletic               10     A. Not really, no.
11 League.                                                         11     Q. Okay. Do you recall financing and budgeting
12       So they would come up with great ideas. The               12 line items for the maintenance and repair of any of the
13 commanding officer would really work closely with the           13 PAL centers?
14 police of all districts. The commanding officer was             14     A. Well, that was a standard in the budget;
15 much like a commanding officer of a district. The               15 preventative maintenance, capital maintenance. But
16 commanding officer was responsible for all assignment           16 specifically, you know, I didn't -- I didn't do the
17 issues, discipline issues, you know, performance issues,        17 budget so I don't have any specifics that I can
18 and also creative issues working hand in hand with the          18 remember.
19 executive director and the civilian staff and the board.        19     Q. Okay. Do you recall any PAL centers being
20       So it was a collaborative environment, and at             20 closed due to their condition?
21 the same time there were roles that were performed that         21     A. I don't.
22 people were aware of what their responsibilities were.          22     Q. So as we sit here today, Ms. Rush, you don't
23    Q. Okay. Well, isn't part of the mission of PAL              23 recall any PAL centers being closed related to their
24 to provide a safe place for these students and children         24 condition? You don't recall any financial line items
                                                         Page 17                                                           Page 19
 1 in the community to play and grow, correct?                      1 being attributed to the repair of PAL centers that were
 2     A. Absolutely.                                               2 in poor condition; is that right?
 3     Q. Okay. And so I would assume that the police               3    A. You know, that's kind of a multi question
 4 side of the PAL Police Department relationship, they             4 there.
 5 have a lot to do with that safety and security provision         5     Q. It is, and I should break it up.
 6 in terms of providing that for the young people,                 6        You said that you recall the line item related
 7 correct?                                                         7 to preventative maintenance. And what I'm asking you
 8     A. Correct.                                                  8 is -- I'm not asking about preventative maintenance.
 9     Q. Okay. And so the commanding officer would have            9 I'm asking about PAL centers that were in poor repair
10 some responsibility as it related to that also, right?          10 and needed to have maintenance and actually be closed to
11     A. Correct.                                                 11 be repaired. Do you recall budgeted line items for
12     Q. Okay. So it's not just about assignments and             12 those kind of issues at PAL centers?
13 shift changing, right? They actually have real                  13     A. I do not.
14 responsibilities and duties related to the safety of the        14     Q. Okay. Now I want to ask you about a meeting
15 people who are there, correct?                                  15 with Ms. Cintron. So not about the meeting where
16     A. Correct.                                                 16 Ms. Cintron is, essentially, I guess, interviewed and
17     Q. Now, did there -- did there ever come a time             17 there's feedback, the meeting that we discussed earlier.
18 where you became aware of substandard conditions at a           18 I'm not asking about that. I'm asking you now about a
19 PAL center, the Wissinoming Center for PAL?                     19 meeting that you, yourself, and Ms. Cintron had as a
20     A. I don't recall that, no.                                 20 one-on-one dinner meeting.
21     Q. You don't recall that.                                   21        Do you recall that meeting, ma'am?
22        You were on the Finance Committee back in 2016           22     A. I'm sorry. Are we talking about a dinner or a
23 though, correct?                                                23 meeting?
24     A. I believe so.                                            24     Q. Well, you had dinner. It was just you and
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 1 Ms. Cintron.    So we can -- we can talk about what          1     A. I don't recall.
 2 happened there, but it was just the two of you. So no        2     Q. Okay. So do you recall when that meeting took
 3 one else. And I don't know how many times you had            3 place?
 4 dinner with Ms. Cintron. You can tell us.                    4     A. I don't.
 5        How many times have you had dinner one on one         5     Q. Okay. Now, although you do not recall what
 6 with Ms. Cintron?                                            6 Lieutenant Cintron was told to get her to that meeting
 7     A. One time.                                             7 with you, can you tell us what she was told once she was
 8     Q. Okay. So that's the -- that's the moment that         8 at the meeting with you?
 9 I'm talking about.                                           9     A. Sure. It was an opportunity for us to have a
10     A. Okay.                                                10 meet-and-greet and to kind of do what I would do for any
11     Q. Do you recall where that took place?                 11 new leadership people, not just at PAL but in general.
12     A. Yes.                                                 12 I'm on numerous boards and would do that, have -- have
13     Q. Where was it?                                        13 them out for a bite to eat, see how things are going and
14     A. It was at a restaurant that's attached to the        14 see if I can be supportive in any way.
15 first level of the Inn at Penn, 3600 block of Samson        15     Q. Okay. Well, when we spoke earlier about the
16 Street. I believe it's no longer there. I believe it        16 duties that you had as a member of the executive board
17 was called Penne, P-e-n-n-e.                                17 and all those other committees, you didn't mention any
18     Q. Okay. And do you recall how that dinner came         18 kind of meet-and-greet.
19 to be?                                                      19       In fact, you're also a member of the
20     A. I invited the lieutenant.                            20 Nominations Committee and you didn't mention any
21     Q. You invited her to that dinner?                      21 meet-and-greet as a part of your standard operating
22     A. Yes.                                                 22 procedure or as a part of your duties. So I'm a bit
23     Q. And when you invited her to that dinner didn't       23 confused as to what you're telling us now about this
24 you tell her that she was coming to that dinner to          24 meet-and-greet.
                                                     Page 21                                                            Page 23
 1 discuss programming?                                         1       Are you telling us that this was one of your
 2     A. I don't recall what -- first off, my assistant        2 duties or are you telling us that this was kind of an ad
 3 set it up. I don't recall what was said to the               3 hoc thing that you would just up and do?
 4 lieutenant.                                                  4     A. It's not any duty. I'm a volunteer member and
 5     Q. Okay. So you don't know what she was told to          5 I've served because I believe in the organization and it
 6 get her to that meeting?                                     6 is my practice in life to try to help people as they
 7     A. Correct.                                              7 onboard.
 8     Q. And you, yourself, never spoke with her about         8       And so do I onboard and have time to go to
 9 that meeting prior to it actually happening; is that         9 lunch with every new member of the Nominations
10 right?                                                      10 Committee? No. Sometimes? Maybe. But a new
11     A. Correct.                                             11 commanding officer, a new captain of the district that
12     Q. So at no time did you tell her that you didn't       12 covered Penn, a new commissioner, they're the kinds of
13 want to meet at your office or at PAL offices but rather    13 things I'm talking about.
14 at The Inn at Penn?                                         14       There's no duty here. It is -- it is out of
15     A. I don't recall.                                      15 courtesy and trying to be helpful to anyone who is new
16     Q. Well, you just told us that you never spoke          16 in a position that I am somewhat involved in. And as a
17 with her, that your assistant set that meeting up,          17 board member, that was the case here.
18 right?                                                      18     Q. Okay. So despite the fact that you were having
19     A. Correct.                                             19 this meet-and-greet as a courtesy to Lieutenant Cintron,
20     Q. Okay. And so what I'm asking you now is when         20 as you recall, you didn't even make the call to extend
21 you're telling us that you never spoke with her             21 the invitation to her yourself? Your secretary did
22 regarding that meeting, are you telling us that you         22 that? And although you apparently knew the purpose of
23 never had a conversation with her prior to walking into     23 it was simply a meet-and-greet and to introduce and
24 the restaurant at The Inn at Penn and seeing her there?     24 provide support to Lieutenant Cintron, you can't recall

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 1 what she would have been told to get her to the meeting?       1
                                                                  Q. Okay. Did you -- do you recall telling
 2    A. Well, you know, not quite the way you're            2 Lieutenant Cintron that the other individuals associated
 3 describing this. My executive assistant set up all my     3 with PAL wanted you to meet with her woman to woman?
 4 meetings and she would peripherally know what the         4    A. No, I don't recall.
 5 meeting was about. If it was a lunch meeting, it may be   5    Q. Okay. Do you recall Lieutenant Cintron asking
 6 onboarding a new Dean at Penn.                            6 you if we were talking about Rob [sic] Rabena, Bernie,
 7       It was a meet-and-greet. I don't have -- you        7 and the District Deputy Commissioner Sullivan? Do you
 8 know, for those kinds of things you don't have an         8 recall her asking you if those were the people who put
 9 agenda. You have -- you know, you meet people. You get    9 you up to having the meeting with her? Do you recall
10 to know them a little better.                            10 that?
11       I'm sure that my assistant, who was very           11    A. I don't recall.
12 familiar with this practice, would probably have given   12    Q. Okay. Do you recall answering that question in
13 some peripheral information such as that.                13 the affirmative and referring to them as the good old
14    Q. Okay. Who was your assistant at that time?         14 boys?
15    A. Danielle Faust, F-a-u-s-t.                         15    A. I don't recall.
16    Q. Faust. Okay.                                       16    Q. Okay. Do you recall telling Lieutenant Cintron
17       So you think that your assistant would have        17 that she should just sit back and allow the men to run
18 given some kind of peripheral information regarding just 18 PAL?
19 a meet-and-greet?                                        19    A. Well, I don't recall that, but I will assure
20    A. That's my understanding, yes.                      20 you that is not something that would ever come out of my
21    Q. Okay. And this was actually not a lunch            21 mouth as a trailblazing woman in the police department
22 meeting? This was actually dinner with Lieutenant        22 and at Penn and on the board.
23 Cintron? Do you recall?                                  23    Q. Okay. Well, then you know what you didn't say.
24    A. That's correct.                                    24 But the issue that I have with you, Ms. Rush, is that
                                                      Page 25                                                              Page 27
 1     Q. Okay. And do you recall Lieutenant Cintron at           1 you can't remember what you did say.     So tell us what
 2 least being under the impression that you all were there       2 you did say at this dinner meeting.
 3 to discuss programming?                                        3     A. Well, you didn't quite ask me what I said.
 4     A. I don't know what she was under the impression          4 What I can tell you is what I can remember.      And I don't
 5 of.                                                            5 remember how many years ago this is, but I will give you
 6     Q. Okay. Do you recall her attempting to discuss           6 my best recollection of that one encounter and one
 7 programming with you at that meeting?                          7 dinner.
 8     A. I believe programming came up in the                    8        I wanted to ensure that -- first off, we had a
 9 conversation.                                                  9 lot in common. I worked the 25th District as a police
10     Q. Okay. Do you recall telling her, no, you just          10 officer. She worked as a lieutenant in the 25th and did
11 wanted to enjoy dinner first and then you could get to        11 a very nice job working with the community and she had a
12 why you were there to actually speak with one another?        12 lot to be proud of. We talked a lot about that.
13 Do you recall telling her that?                               13        And then she had never worked in an assignment
14     A. There's no separation of what you're                   14 where there was -- where it was a not-for-profit board.
15 describing. It is a meet-and-greet and, as such, work         15 So I tried to outline for her the duties of the
16 stuff will come up because we're on the same team. I          16 executive director versus the duties of the police
17 was on the board and she was the commanding officer in a      17 commander. And I think there had been some -- I don't
18 new position and I'm sure we discussed things like that.      18 know -- misperceptions about who was responsible for
19     Q. I understand. But my question was, do you              19 what and I wanted to take that opportunity to help her
20 recall telling Lieutenant Cintron that you did not want       20 succeed in this role.
21 to talk about programming at that time, you just wanted       21        She had a lot to offer and we wanted her to
22 to start to enjoy dinner, and then you would tell her         22 succeed and so we wanted to -- I wanted to make sure
23 why you were all really there to meet?                        23 that she understood the roles of each of those
24     A. I don't recall.                                        24 positions. And those roles overlapped in a lot of ways

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 1 around strategy, but there were specific roles that she       1 been aware that the position was unique; yes?
 2 was responsible for and there were specific roles that        2 A. Yes.
 3 the executive director was responsible for.                   3 Q. Okay. You said that there had been problems
 4     Q. Okay. And the executive director that we're        4 regarding the executive director and the police
 5 talking about is Ted Quali; is that correct?              5 commander, correct?
 6     A. Correct.                                           6     A. I don't recall saying that.
 7     Q. And did you -- so you met with her in an effort    7     Q. Well, there had been some issues leading to you
 8 to define these roles for her?                            8 feeling as though you needed to outline the differences
 9     A. Correct.                                           9 is these duties between the executive director and the
10     Q. Okay. Well, when we began this conversation       10 police commander; no? Did I misunderstand that?
11 regarding this meeting, Ms. Rush, you told me that this  11     A. Well, I didn't say it was a problem. I said it
12 meeting was simply a meet-and-greet. You told us that    12 was a -- it was a new commanding officer coming into a
13 this meeting was something that you do with everyone,    13 new position and I believed that there was some
14 that you would have done with anyone else taking over a 14 misperceptions about what the role was for the
15 police district or the district that Penn sits in or for 15 lieutenant commanding officer of the Philadelphia Police
16 any other board that you were on. That's why you told    16 PAL Unit.
17 us that you met with her.                                17     Q. Okay. And --
18       Now you're telling us that you met with her        18     A. Also, to inform her of what the executive
19 because you needed to define the role of the executive   19 director's role was.
20 director versus her role as the police commander at PAL. 20     Q. Okay. So your word is misperceptions. All
21 That sounds like an agenda to me.                        21 right.
22       Are you telling us that you did not have an        22        Regardless of that, what I'm getting at is
23 agenda when you went to that meeting with her on that    23 this, Ms. Rush: Were you aware of those misperceptions
24 evening and that it was still just a meet-and-greet?     24 prior to the meeting or are you telling us that you
                                                      Page 29                                                           Page 31
 1       ATTORNEY GOLDEN: Objection. Go ahead.              1 found out about those misperceptions during your dinner?
 2       THE WITNESS: I'm telling you that the original     2      A. Both.
 3 purpose of the meeting was a meet-and-greet and to get   3      Q. Both?
 4 to know her better. And as the dinner evolved and the    4      A. Yes.
 5 evening evolved, we did discuss the way that Penn        5      Q. And so -- well, that's an interesting answer,
 6 operates -- I'm sorry, the way that PAL operates.        6 because I don't know that the answer can be both. So
 7       And I've been a long-time member of the board      7 I'll rephrase my question.
 8 and have helped other commanding officers when they      8        Were you aware of misperceptions between the
 9 started because it's unique and it's different than any  9 executive director and the police commander prior to
10 other assignment in the Philadelphia police.            10 your dinner?
11       In conversation that came up, was that an         11      A. Yes.
12 agenda item? Not necessarily. My agenda was to welcome 12       Q. Okay. Now, during your dinner I take it that
13 her, to help her be successful, and to try to explain   13 you were given additional information regarding what
14 the difference of roles and to realize that this is a   14 you've described as misperceptions from Lieutenant
15 unique position inside the Philadelphia Police          15 Cintron. Is that what you're telling us?
16 Department.                                             16      A. Yes.
17 BY ATTORNEY FITZPATRICK:                                17      Q. Okay. So my very pointed question to you now
18    Q. Well, there's only one PAL commander in the       18 is, at the time that you set up that dinner with
19 Philadelphia Police Department, correct?                19 Lieutenant Cintron, are you telling us that you had no
20    A. That's correct.                                   20 intention of addressing these misperceptions with her?
21    Q. All right. You think she was aware of that,       21      A. I'm not saying that.
22 correct?                                                22      Q. Okay. So you did intend on addressing the
23    A. Yes.                                              23 misperceptions with her, correct?
24    Q. Okay. So is it safe to say that she would have    24      A. I didn't say that either.
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 1     Q. Okay. Well, did you intend to address the             1     A. I'm not saying that it didn't come up. I don't
 2 misperceptions with her at the dinner?                       2 have any total recollection of what else we talked about
 3     A. This was a meet-and-greet and I wanted to             3 around other people.
 4 understand how she was feeling about her new assignment      4     Q. Okay. And do you have any recollection of what
 5 and if it came up, absolutely. If it didn't come up, it      5 you said? Now you've told us what you talked about.
 6 would have been just other conversations.                    6 And this is the only thing you can recall talking about;
 7     Q. Okay. So you're telling us you didn't bring it        7 is that right?
 8 up?                                                          8     A. You know, at dinner you talk about a lot of
 9     A. I don't recall. I don't recall who brought it         9 things. You talk about your kids. You talk about how
10 up.                                                         10 you started on the job.
11     Q. Well, now, if you brought it up, then of course      11       She was interested in how it was in 1976, when
12 it would come up and so of course it would be addressed.    12 myself and 99 other women plowed the way into law
13 So you can't say if it came up, then we would talk about    13 enforcement for other women, including her.
14 it. If it didn't come up, we wouldn't talk about it if      14       And, you know, it was a general conversation.
15 you're the person who brought it up.                        15 And, you know, again, the purpose of it was a
16        So my question is, did you bring it up?              16 meet-and-greet. The purpose was to help a fellow female
17     A. Well, here's the thing, it was a conversation.       17 officer, a lieutenant, succeed in the position.
18 Who brought it up first? I don't recall sitting here        18     Q. To help a fellow female officer succeed and
19 today.                                                      19 that would have been by giving her advice, correct?
20     Q. Okay. But you do recall that you requested the       20     A. Guidance.
21 meeting?                                                    21     Q. Guidance.
22     A. Yes.                                                 22       Okay. And in this particular case, because her
23     Q. Okay. And how long did this dinner last?             23 assignment is commanding officer at PAL, you would have
24     A. I don't know.                                        24 been giving her guidance and advice about how to proceed
                                                     Page 33                                                            Page 35
 1     Q. Do you recall Lieutenant Cintron pointing out         1 on that assignment, correct?
 2 to you that as a woman she had to work twice as hard to      2     A. Correct.
 3 get to where she was and she wasn't going to sit back        3     Q. Okay. And so all I'm asking you quite simply
 4 and just let men handle everything?                          4 at this point is, what guidance and advice did you give
 5     A. I don't recall.                                       5 her?
 6     Q. Do you recall her telling you that?                   6     A. As I said earlier, I tried to outline for her
 7     A. I don't recall that, no.                              7 the distinction between the role of commanding officer
 8     Q. Okay. Beyond the executive director, Ted              8 of the Police PAL Unit versus the commanding -- the
 9 Quali -- who is a man, correct?                              9 executive director of PAL who oversaw all the civilian
10     A. Correct.                                             10 staff and was responsible for running a not-for-profit
11     Q. -- and you defining his role versus Lieutenant       11 board reporting to a board of directors.
12 Cintron's role, were there any other roles that you         12     Q. Well, forgive me, Ms. Rush, but that seems like
13 defined for Lieutenant Cintron?                             13 information that someone could have gotten from a
14     A. I don't recall.                                      14 pamphlet. That's hardly the kind of information that I
15     Q. Okay. Did you -- do you recall explaining to         15 would expect a trailblazer from 1976 to be providing to
16 her what Rob [sic] Rabena's role was?                       16 someone at dinner.
17     A. I don't recall specifically what I explained or      17        So aside from outlining those roles, what
18 not. It probably came up, but I don't know. I can't         18 guidance and advice did you give Lieutenant Cintron
19 sit here today and tell you what that conversation was.     19 regarding being a female commander in her position?
20     Q. Okay. But you do know that you defined Ted           20        ATTORNEY GOLDEN: Objection. Go ahead.
21 Quali's role from Lieutenant Cintron's role? You recall     21        ATTORNEY ULAK: I'll join the objection.
22 that?                                                       22        THE WITNESS: Well, you know, what I was trying
23     A. I do.                                                23 to help Lieutenant Cintron understand is what her role
24     Q. But no others, correct?                              24 was. And in saying what her role was, yes, did I go

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 1 into more detail?   I'm sure.                                 1 interacted with the board and with the executive
 2       You know, you're -- you have a -- we, I believe         2 director.
 3 at the time, had some police officers that were assigned      3     Q. Well, right. And so you said that the rest
 4 to PAL that needed to be re-invigorated, let's say. She       4 would fall into place.   What are you referring to when
 5 was aware of that and actually came into the role, I          5 you say that?
 6 think, intending to do that.                                  6     A. Well, it was clear there was some friction
 7       So we talked about the great needs and                  7 between the executive director and the lieutenant and I
 8 responsibilities, which were many, of being the               8 believe the friction came because of understanding
 9 commanding officer over the police and also then what         9 roles.
10 were the specific roles that the executive director          10        And what I mean by that is if everyone is
11 would be responsible for, which is not written in any        11 working as a team cooperatively and understanding the
12 pamphlet.                                                    12 impact that you can make and the impact that other
13       Just like most jobs, there's job descriptions          13 person can make and the impact the board can make, that
14 and then there's -- you know, you get behind the scenes      14 this was an opportunity -- we are here to serve the
15 of what people do each and every day and who is              15 children of Philadelphia. And that's what we are trying
16 responsible to whom, who reports to whom and what that       16 to do. And that's -- that's what I mean by falling into
17 daily responsibility is and what that long-term              17 place, making sure it was a successful operation.
18 responsibility is. And so we just really -- you know, I      18     Q. Okay. Well, you started by saying that there
19 wanted to make sure that -- she was still new there and      19 were just misperceptions. Now we've graduated to
20 it was a completely different role than any other            20 friction between the executive director and the
21 position in the police department in that you're             21 commanding officer.
22 interacting with basically a not-for-profit board with a     22        And just so that I'm clear, again, you were
23 full board of directors and an executive director. So        23 never assigned to PAL as a police officer, correct?
24 everything in between there is what we discussed.            24     A. Correct.
                                                      Page 37                                                             Page 39
 1     Q. Okay. So you didn't give her any advice                1    Q. So you were never a commanding officer in the
 2 regarding how her interactions should go with people,         2 PAL assignment, correct?
 3 the executive director or any other board members,            3    A. Correct.
 4 correct?                                                      4    Q. All right. And, in fact, there is a deputy
 5     A. You know, I didn't get into how you should             5 commissioner or a commissioner that Lieutenant Cintron
 6 treat people. We got into the roles of people, which in       6 would report to in her chain of command, correct?
 7 turn would, you know, work cooperatively with one             7    A. Correct.
 8 another; ensure that, you know, you were coming to board      8    Q. And at any point during this conversation did
 9 meetings.                                                     9 you advise Lieutenant Cintron to report anything to her
10       The commanding officer always had a role at the        10 deputy commissioner or to the commissioner?
11 full board meeting -- executive board meetings to report     11    A. I don't specifically recall that, no.
12 out on the different accomplishments and -- you know, it     12    Q. Okay. Were you aware at this point that there
13 was more about that. It was more about that and that         13 was a Memorandum of Understanding that was being
14 the rest would fall into place if people knew what their     14 presented concerning the various roles of the Police
15 roles were. And to basically really work on the things       15 Athletic League, civilian employees, and the police
16 that were in her control and what was expected of her        16 personnel?
17 from the police commissioner, to oversee -- I don't          17    A. I was aware of it, yes.
18 remember how many there were at the time. Maybe 34           18    Q. Okay. And were you aware that Lieutenant
19 police officers. But to make sure -- just like a             19 Cintron was one of the proponents of that memorandum in
20 captain would of a district, same responsibilities.          20 terms of trying to get those roles defined?
21 And, again, I don't know what the police commissioner's      21    A. I don't recall that.
22 orders are. I'm not privy to that. But in watching           22    Q. Okay. Were you aware of this pending
23 other commanding officers, that's what it appeared to me     23 memorandum prior to having this dinner with Lieutenant
24 to be, that that's what they did, and they certainly         24 Cintron?

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 1     A. I don't recall the timing.                                     1 individuals, are you talking about working alongside
 2     Q. Okay. But at any rate, you did not discuss                     2 men?
 3 this memorandum; is that right?                                       3    A. I'm sorry. I don't understand your question.
 4     A. Not that I recall.                                             4    Q. You said that you were intending to discuss
 5     Q. Okay. You just happened to discuss the things                  5 with Lieutenant Cintron working alongside these people
 6 that would have been covered by the memorandum; is that               6 which you have had the experience of doing for years.
 7 right?                                                                7    A. No. What I was saying was that my role -- I
 8        ATTORNEY GOLDEN: Objection. Go ahead.                          8 was -- my history of being on the board and my history
 9        THE WITNESS: I don't know what was in the                      9 previously at Philadelphia Police Law Enforcement was
10 memorandum. It was not something that I was totally                  10 that I had worked alongside previous commanding officers
11 involved in. I heard about it. I don't have a clue                   11 of PAL and, obviously, been assigned to it, because, you
12 what was in it. And the discussion that we had was                   12 know, PAL members go -- PAL board members, you know, go
13 specifically what was in front of us right then and                  13 to the Christmas parties and raise money for the gala
14 there.                                                               14 and things like that. So, yes, I was very familiar with
15 BY ATTORNEY FITZPATRICK:                                             15 the police officers, not all, but some, and -- and,
16     Q. Okay. Well, what I'm asking you is that the                   16 again, worked closely with the executive -- I'm sorry,
17 memorandum is a direct result of the misperceptions and              17 the commanding officer of PAL.
18 friction between the commanding officer and the                      18 BY ATTORNEY FITZPATRICK:
19 executive director of PAL. And are you telling us that               19    Q. Right. But, I'm sorry, my question was a much
20 it just co- -- by coincidence you discussed the very                 20 simpler one. I should have been more clear. All I'm
21 same things that were going to be addressed by this                  21 asking you is, you would agree with me that the
22 Memorandum of Understanding?                                         22 Philadelphia Police Department for many years, and even
23        Although you were aware of the Memorandum of                  23 the PAL board to a degree, were male dominated --
24 Understanding and you were aware of the misperception                24 predominantly male organizations and people that you
                                                              Page 41                                                                 Page 43
 1 and the friction, you're telling us that it was not your              1 were working with and around?
 2 intention to discuss the Memorandum of Understanding                  2
                                                                    ATTORNEY GOLDEN: Objection.
 3 with Lieutenant Cintron on that date; is that right?                  3
                                                                    THE WITNESS: You know what, by that year, not
 4       ATTORNEY ULAK: Objection.                          4 so much. There were female officers. There were, I
 5       ATTORNEY GOLDEN: Objection.                        5 believe, one or two female sergeants in PAL at the
 6       ATTORNEY ULAK: Sorry. You can answer. I just 6 police department. The board was very diversified in
 7 objected.                                                7 both gender and race.
 8       THE WITNESS: What I'm saying to you is, I was      8       So the experience of working at PAL -- in my
 9 discussing with Lieutenant Cintron my experience of      9 case the experience of serving on this not-for-profit
10 working alongside members of the Philadelphia Police    10 board, I didn't see it just being all men.
11 Department, and especially as a board member working    11 BY ATTORNEY FITZPATRICK:
12 with past police commanders of PAL and the              12    Q. Well, I didn't say all men. I said
13 distinction -- which, I believe Ted Quali was the first 13 predominantly men. And so if there's one out of 27,
14 executive director, so it was different than maybe a    14 you'd have to agree with me that that would still be
15 past commanding officer. So that was my -- that was     15 predominantly male, correct?
16 where I was coming from.                                16       ATTORNEY GOLDEN: Objection. Go ahead.
17       I wanted to ensure that -- this was kind of a     17       THE WITNESS: You're asking me my experience
18 new model for PAL. I don't know how many years he was 18 and my experience was I didn't experience PAL or the PAL
19 there, but it was -- it was a little bit different than 19 board as being predominantly male. I'm not sitting here
20 somebody 20 years ago who was the commanding officer -- 20 doing statistics, but that was my experience.
21 police commanding officer. So that was -- that was      21 BY ATTORNEY FITZPATRICK:
22 where I was basing that conversation on.                22    Q. Okay. Well, how many -- you said you're on the
23 BY ATTORNEY FITZPATRICK:                                23 Executive Committee, correct?
24    Q. Well, when you say working alongside these        24    A. Correct.
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 1    Q. Okay. And who's on the Executive Committee?         1 a past president that was Sylvia Nisenbaum. And, again,
 2    A. I have no idea to name them right now, but          2 I can't guess at who else was on the board that year.
 3 there was a mixture of men and women.                     3     Q. Okay. So yourself as the secretary and there
 4    Q. Okay. Well, who was the -- I think we talked        4 was a past president. Did the past president have
 5 about the executive director. That was Ted Quali,         5 duties?
 6 correct?                                                  6     A. She was on the executive board and definitely,
 7    A. Correct.                                            7 you know, helping guide issues for the -- for the board.
 8    Q. The president of the board, was that Rob [sic]      8     Q. Okay. So aside from the public board meetings
 9 Rabena?                                                   9 that would occur, there would be sometimes private
10    A. I believe so.                                      10 planning meetings or committee meetings, correct?
11    Q. Okay. And the vice president, was that Bernie      11     A. Correct.
12 Prazenica?                                               12     Q. Would you take part in those meetings?
13    A. Prazenica, yes.                                    13     A. On the ones I was involved with.
14    Q. Prazenica. I'm sorry.                              14     Q. Okay. So by that, do you mean with finance?
15       And that was the leadership team that would        15     A. Finance and the Executive Committee.
16 meet regarding the direction of PAL, wasn't it?          16     Q. And the Executive Committee?
17       ATTORNEY GOLDEN: Objection. Go ahead.              17     A. And the Nominations Committee.
18       THE WITNESS: I mean, if you have a listing in      18     Q. Okay. And who was on the Executive Committee?
19 front of you, I'd be happy to have you name them. But I  19     A. I don't -- again, I -- it changes and I have no
20 know for a fact -- I believe that the chair before Ron   20 idea to go down a list without seeing the history of who
21 Rabena was Sylvia Nisenbaum and Sylvia still remained on 21 was on at the time.
22 the executive board. There were other women that were    22     Q. How often did the Executive Committee meet?
23 on the executive board, I believe, as well.              23     A. I don't recall the sequence. Several times a
24 BY ATTORNEY FITZPATRICK:                                 24 year in addition to the full board meeting.
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 1    Q. All right. But that's not my question. My             1    Q. Okay. What about the Finance Committee, how
 2 question is that at this time, in 2016, when Ted Quali      2 often did the Finance Committee meet?
 3 was the executive director, Rob [sic] Rabena was the        3    A. Pretty much the same.
 4 president, Bernie was the vice president, that was the      4    Q. Several times a year?
 5 leadership team at that point in time, correct?             5    A. Correct.
 6       ATTORNEY GOLDEN: Objection. Go ahead.                 6    Q. Is that on a monthly basis?
 7       THE WITNESS: Actually, Bernie was the                 7    A. No.
 8 treasurer and Ron Rabena was the president. I think         8    Q. Okay. Are you aware of any groups of board
 9 they just switched it.                                      9 members or officials with PAL who met on a monthly
10 BY ATTORNEY FITZPATRICK:                                   10 basis?
11    Q. Okay. So Bernie was the treasurer?                   11    A. Not specifically, no.
12    A. Yes.                                                 12    Q. So then it's safe to say that you did not take
13    Q. Okay. And Rob [sic] was the chair?                   13 part in any meetings that occurred on a monthly basis?
14    A. Ron was the chair.                                   14    A. Yes, that would be safe to assume.
15    Q. Ron was the chair.                                   15    Q. Okay. Were you aware of any meetings that took
16       And Ted was the executive director?                  16 place every two months?
17    A. Yes.                                                 17    A. Not specifically.
18    Q. And that was the leadership team, correct?           18    Q. Okay. So if I told you that Bernie, Rob [sic],
19       ATTORNEY GOLDEN: Objection.                          19 and Ted met on a relatively consistent basis once every
20       THE WITNESS: There were more people on the           20 month, that would not be -- that would be something that
21 leadership team than that.                                 21 would surprise you?
22 BY ATTORNEY FITZPATRICK:                                   22       ATTORNEY GOLDEN: Objection. Go ahead.
23    Q. Okay. Well, who were they?                           23       THE WITNESS: It would not surprise me.
24    A. Well, I was the secretary of the board. We had       24 BY ATTORNEY FITZPATRICK:

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 1    Q. Okay. And if I told you that Lieutenant                1 BY ATTORNEY FITZPATRICK:
 2 Cintron had been promised that she was going to be a         2    Q. Okay. If the board wanted to communicate
 3 part of those meetings, would it surprise you?               3 information to the executive director, how was that
 4       ATTORNEY GOLDEN: Objection. Go ahead.                  4 done?     How did that chain of communication work?
 5       THE WITNESS: I have no knowledge of that.              5     A. I don't know.
 6 BY ATTORNEY FITZPATRICK:                                     6     Q. Okay. Well, you -- you're on the Executive
 7    Q. Okay. Well, you had knowledge of what prior            7 Committee now, correct?
 8 executive directors and -- I'm sorry, not prior              8     A. Correct.
 9 executive directors -- prior commanding officers for PAL     9     Q. And you're on the Finance Committee, correct?
10 had done and participated in, correct?                      10     A. Correct.
11       ATTORNEY GOLDEN: Objection. Go ahead.                 11     Q. And you're on the Nomination Committee,
12       THE WITNESS: It was a different model. We             12 correct?
13 didn't have an executive director. And once the             13     A. Correct.
14 executive director came on board, the commanding officer    14     Q. Okay. So the question that I'm asking you
15 wasn't involved in everything that the executive            15 is -- I'll give you a hypothetical. If PAL Center
16 director was involved in with the board.                    16 Number 26 had gone overbudget and the board wanted the
17 BY ATTORNEY FITZPATRICK:                                    17 executive director to address that issue, how would you
18    Q. Okay. So are you telling us that the --               18 get that message to the executive director?
19 there's someone who preceded Lieutenant Cintron,            19     A. Hypotheticals are difficult to really give an
20 correct, in the position?                                   20 answer to because it depends on what is going on. I
21    A. Correct.                                              21 wasn't the chair of the Finance Committee, so I have no
22    Q. Okay. Who was that person?                            22 knowledge how that would happen.
23    A. It was Bill and I can't recall his last name.         23     Q. Okay. So you don't have any knowledge of how
24 His last name's escaping me.                                24 to communicate with people who report directly to you as
                                                     Page 49                                                             Page 51
 1     Q. Okay. And he was a lieutenant as well,                1 a board member; is that what you're telling us?
 2 correct?                                                     2        ATTORNEY GOLDEN: Objection. Go ahead.
 3     A. Yes.                                                  3        THE WITNESS: So I'm sure you're on boards and
 4     Q. Okay. And are you telling us that Ted Quali           4 the chair of the board is generally the key person that
 5 was not in his position as executive director when this      5 does communications and there are times where, you know,
 6 lieutenant was running PAL from the police side?             6 other members of the committee or the board might also
 7     A. I believe the overlap occurred maybe midterm to       7 have roles in communication. But as a general stance, I
 8 the past lieutenant's tenure there.                          8 was not involved in the daily issues that would be
 9     Q. Okay. And are you aware of that lieutenant            9 presented and so I have no knowledge of how something
10 meeting with Ted and Rob [sic] and Bernie regarding the     10 like that hypothetical question would roll.
11 direction of PAL?                                           11 BY ATTORNEY FITZPATRICK:
12     A. I'm not familiar with that.                          12     Q. Okay. But I think you've answered my question
13       By the way, it's Ron, not Rob.                        13 and then disavowed it in the same answer. So that's --
14     Q. Ron, I'm sorry. My apologies.                        14 that's why I'm going to ask it again.
15       So you were not aware of that?                        15        My understanding from what you just said is
16     A. I -- no, I was not aware of it.                      16 that the chair of the board would be the key person and
17     Q. Okay. And so you're not aware of these monthly       17 communicating to someone like the executive director.
18 meetings. You don't take part in these monthly              18 And that's really what my question was. But then you
19 meetings. And do you receive any information from these     19 went on to say you have no idea who would be the person
20 monthly meetings?                                           20 to communicate, so --
21       ATTORNEY GOLDEN: Objection. Go ahead.                 21     A. No, that's -- actually, that's not what I said.
22       THE WITNESS: Well, I don't know what monthly          22 What I said was I was not the chair of the Finance
23 meetings you're talking about as far as what they're        23 Committee, of the Executive Committee, nor the
24 doing, so no.                                               24 Nominations Committee. And what I said is that the

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 1 chair of the board and the chair of committees have a           1 who's communicating and how they're communicating with
 2 deeper role than I did, which is basically what I'm             2 an executive director, I am saying I don't know.
                                                                                                                 I
 3 saying.   I wouldn't know everything they're doing.       3 certainly did communicate with the executive director in
 4     Q. Okay. So, again, you're not aware of how           4 various ways, especially at board meetings when he was
 5 communication would flow from the board to the executive 5 there. I also communicated with Lieutenant Cintron
 6 director?                                                 6 formally at meetings but also informally at events at
 7     A. Not specifically, no.                              7 the PAL center.
 8     Q. No. But even though you're unaware of how          8       The difference is I'm not the top dog on the
 9 communication would flow from the board to the executive 9 board. I don't --
10 director who is in your chain of command as a board      10    Q. Yeah, I'm sorry. Ms. Rush, that's not my
11 member, you felt that you could have dinner with         11 question. I'm not asking who's the top dog. I'm not
12 Lieutenant Cintron and explain to her what her role was  12 even asking you about daily communications.
13 as it related to the executive director?                 13       I'm asking you how -- and I even gave you a
14        ATTORNEY GOLDEN: Objection. Go ahead.             14 hypothetical that you thought wasn't helpful, I guess.
15        THE WITNESS: My communication style with the 15 But I'm simply asking you, how did you communicate with
16 executive director or with Lieutenant Cintron has        16 the executive director?
17 nothing to do with the question you asked me.            17    A. And what I just said is at board meetings,
18        I am quite aware of the roles. I explained it     18 especially executive board meetings, we would all be --
19 earlier what the difference was. I was a member of the   19 there would be a conversation.
20 PAL board before there was an executive director and I   20    Q. Thank you. Thank you.
21 know that with the executive director the roles changed. 21    A. You're welcome.
22        I was just trying to he helpful to Lieutenant     22    Q. And so beyond board meetings, did you ever
23 Cintron to ensure she was aware specifically of the      23 e-mail the executive director?
24 history and how the roles changed and, also, I wanted to 24    A. I'm sure.
                                                         Page 53                                                            Page 55
 1 see her be successful.                                          1
                                                                  Q. Directly yourself?
 2 BY ATTORNEY FITZPATRICK:                                  2    A. Probably.
 3    Q. Well, right. But I'm not asking you about your      3    Q. Okay. Did you ever have phone calls with the
 4 communication style, Ms. Rush. What I'm asking you is a   4 executive director?
 5 much -- a much more pointed question. And maybe it was    5    A. Probably.
 6 too convoluted.                                           6    Q. Okay. And so you had a direct line of
 7        What I'm saying is that you met with Lieutenant    7 communication to the executive director; is that right?
 8 Cintron to explain to her the division between her role   8    A. Yeah, I had a direct line of communication with
 9 and the executive director. And now I'm asking you,       9 the executive director, as I do with tons and tons of
10 well, how did the board communicate with the executive   10 people every day.
11 director? And you're saying, I don't have any idea.      11    Q. Okay. But my point is, you were able to
12        And so I'm simply saying, if you don't know how   12 communicate directly with Ted Quali, correct?
13 the board communicates to the executive director, how in 13    A. Yes.
14 the world were you able to tell her anything about the   14    Q. And, of course, you were able to communicate
15 role of the executive director or anything else like     15 directly with your fellow board members, correct?
16 that if you're telling us you don't even know how you    16    A. Correct.
17 communicate with the executive director?                 17    Q. Those misperceptions and that friction that you
18        ATTORNEY GOLDEN: Objection.                       18 spoke about between the executive director and
19 BY ATTORNEY FITZPATRICK:                                 19 Lieutenant Cintron, where did you derive that
20    Q. Do you understand my question now?                 20 information?
21    A. I understand your question and I think I have      21    A. Specifically, I can't say. But I did have a
22 answered it different ways and that, perhaps, I'm not    22 conversation with Ted Quali about his frustrations and
23 communicating as clearly as I can.                       23 concerns and what -- what he felt was, you know,
24        The difference between knowing on a daily basis   24 happening with communication.

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 1    Q. And you had that conversation with Ted Quali            1 evening at The Inn at Penn, correct?
 2 prior to having that dinner with Lieutenant Cintron,          2     A. I will say probably.
 3 correct?                                                      3     Q. Okay. And although you cannot recall what you
 4    A. Possibly, yes.                                          4 specifically told Lieutenant Cintron, what you're
 5    Q. Yeah. And did you -- and was that the extent            5 telling us today is that you recall attempting to define
 6 of your conversation -- was that the extent of the            6 the roles of the executive director and the commander of
 7 information that you received regarding the issues that       7 PAL; is that right?
 8 Ted Quali complained about? In other words, did -- did        8     A. That was the crux of what we talked about.
 9 anyone corroborate what Ted Quali had told you?               9 Because if we had the ability to straighten out the
10    A. I'm sure there were conversations in the               10 roles and everyone knew what their role was, then there
11 executive board meetings similar.                            11 would be more of a partnership and for the good of the
12    Q. Okay. So, now, who would have been a part of           12 children of Philadelphia, we would continue to move
13 those conversations?                                         13 forward.
14    A. The executive board and Ted Quali.                     14     Q. Right. But there was already a Memorandum of
15    Q. Okay. So that would include Ron?                       15 Understanding pending that was going to address those
16    A. Yes.                                                   16 matters, correct?
17    Q. That would include Bernie?                             17       ATTORNEY GOLDEN: Objection.
18    A. Yes.                                                   18       THE WITNESS: I was not involved in forming the
19    Q. Okay.                                                  19 MOU.
20    A. They were there, yeah.                                 20 BY ATTORNEY FITZPATRICK:
21    Q. All right. Would that include the deputy               21     Q. I didn't ask if you were involved.
22 commissioner for the police department?                      22       You've already told us that you were aware that
23    A. No, not necessarily.                                   23 it was forthcoming and -- all right? And it just so
24    Q. No. Okay.                                              24 happens that you're discussing with Lieutenant Cintron
                                                      Page 57                                                         Page 59
 1       And so you had this dinner with Lieutenant              1 some of the very same things that were supposed to be
 2 Cintron early on in her work at PAL, correct?                 2 outlined in the Memorandum of Understanding.
 3     A. Correct.                                               3        And so my question is, if those things are
 4     Q. Okay. How many executive board -- how many             4 going to be outlined in the Memorandum of Understanding,
 5 executive meetings -- committee meetings had you had          5 why does she need to have the discussion with you at
 6 prior to having that dinner with Lieutenant Cintron?          6 all?
 7     A. I don't recall.                                        7        ATTORNEY GOLDEN: Objection. Go ahead.
 8     Q. Well, how many do you have in a year?                  8        THE WITNESS: Well, first off, what I was
 9     A. I'm really bad at calendars. The calendar              9 discussing was basic. It doesn't need to be in an MOU.
10 tells me where to go and my assistant was great, so I        10 It is basic leadership skills and understanding the
11 don't know.                                                  11 roles. Whether that was in the MOU or not really wasn't
12     Q. Okay. But were these quarterly meetings? We           12 the issue.
13 know they weren't monthly meetings.                          13        The issue was my experience as a long-time
14     A. They weren't monthly. I don't know. Maybe             14 board member who worked with the commanding officer at
15 four or five a year. Maybe four. I don't know. As I          15 PAL before there was an executive director, during an
16 sit here today without a calendar in front of me, to         16 executive director, and then hiring -- not hiring but
17 this day I don't know how many there are.                    17 bringing on someone from the police department who knew
18     Q. Okay. All right. So, Ms. Rush, my point is            18 they were coming into a position where there wasn't an
19 simply that you had communications with individuals in       19 executive director.
20 the leadership at PAL who advised you that there was         20        I just wanted to make sure that I could be
21 some kind of an issue, whether you call it                   21 helpful to the lieutenant in understanding what the
22 misperceptions, friction, whatever term you want to use,     22 roles were. Just like there's roles in a district,
23 and you received information about that from individuals     23 there's roles in a chain of command, that's what we are
24 prior to your meeting with Lieutenant Cintron on that        24 in the police world. So the conversation's really just

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 1 clarifying exactly that.  It's no different than if we       1 things wouldn't go well for her?
 2 were talking about a role in a district.                     2     A. No, I did not say that.
 3 BY ATTORNEY FITZPATRICK:                                     3     Q. And although you had had these discussions with
 4     Q. Okay. And it would have been your thought that        4 the executive board generally and with Ted Quali
 5 the lieutenant, despite having had -- having had to have     5 directly, it is still your testimony that this meeting
 6 received numerous promotions to reach the rank of            6 that you set up with Ms. Cintron was for the general
 7 lieutenant, would have needed for you to explain to her      7 purpose of a meet-and-greet and not to address all of
 8 that there was a chain of command?                           8 these issues that you had heard through the executive
 9     A. I didn't say that she had to understand the           9 board and directly from Ted Quali and the MOU that was
10 chain of command. I said she had to understand a new        10 forthcoming? Is that still your testimony?
11 role that she was coming into that was unlike any other     11       ATTORNEY GOLDEN: Objection. Go ahead.
12 role that she had performed before.                         12       THE WITNESS: I think my idea of a
13     Q. Okay. And you said you had given her general         13 meet-and-greet and maybe your idea of a meet-and-greet
14 leadership advice. Is that -- do I have that right?         14 might be a little different. Meet-and-greets are
15     A. I talked about -- no, I don't believe I said         15 conversations and issues will come up on both sides.
16 that.                                                       16       What I am saying is it was an opportunity for
17     Q. Okay. Well, I don't know.                            17 me to be able to have a meal with a fellow female
18        ATTORNEY FITZPATRICK: Can we -- I'm sorry,           18 officer, in her case lieutenant, and we had a lot to
19 Lisa. Can we go back? I -- honestly, I thought that's       19 talk about about the 25th District. So there was --
20 what she did say just in her answer to the last             20 there were issues like that.
21 question. She said something regarding leadership,          21       And, yes, I was aware of the friction and I was
22 didn't she?                                                 22 trying to be helpful so she would be successful in the
23        (Reporter read back the requested testimony.)        23 role because I thought she had a lot to offer and would
24 BY ATTORNEY FITZPATRICK:                                    24 be great in the role and I just wanted to put some
                                                     Page 61                                                         Page 63
 1    Q. That's what I'm referring to, Ms. Rush. You            1 clarifications person to person, woman to woman, to
 2 just said that you were speaking to her regarding basic      2 hopefully be able to clarify any misperceptions or, you
 3 leadership skills.                                           3 know, concerns.
 4    A. Well, I think that you're taking that out of           4 BY ATTORNEY FITZPATRICK:
 5 concept. In my mind, basic leadership skills change as       5    Q. Okay. Now, you just said woman to woman. When
 6 you do new roles. As I got promoted along the way in         6 I asked you earlier if you had told Ms. Cintron that you
 7 Philly, as I got promoted along the way at Penn,             7 wanted to speak with her woman to woman, you denied
 8 leadership skills changed depending on the role that you     8 saying that and now you just said it.
 9 are in.                                                      9         So were you just saying that for me or are you
10       And she did not need any tutoring about being a       10 now remembering that you told Ms. Cintron that you were
11 leader. She was a great leader in the 25th District.        11 speaking with her woman to woman?
12 She shared all of her leadership skills at the interview    12         THE WITNESS: Could you read back what I said
13 and she had proof of her leadership skills. I would in      13 on the first woman to woman?I don't recall saying
14 no way insult her about leadership skills.                  14 that.
15       What I meant is that the role of the commanding       15 BY ATTORNEY FITZPATRICK:
16 officer of the police in PAL has a different role than      16    Q. No.
17 the executive director's role. And when I talk about        17    A. Well, then I don't --
18 leadership skills, I'm talking about it in that context.    18    Q. You just said you --
19    Q. Okay. So you never told her to leave this MOU         19    A. I don't recall saying that. I'm a woman.
20 thing alone, to not concern herself with the MOU? You       20 She's a woman. It was a woman-to-woman dinner.
21 never told her that in that meeting?                        21    Q. That's not my question. My question is, do you
22    A. I don't recall saying anything about that.            22 recall telling her that you were meeting with her woman
23    Q. Can you recall telling her that she could go          23 to woman?
24 ahead and, you know, fight, but if she did that then        24    A. I don't recall what I said yesterday. I don't
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 1 recall.                                                          1
                                                                   Q. So donors who give money to PAL, do they give
 2     Q. Okay. And aside from your motivations for why      2 money for specific centers?
 3 you were discussing the issues brought up by Ted Quali,   3     A. Sometimes.
 4 setting aside those things, can you tell us of any other  4     Q. Okay. And would this Tucker Center be an
 5 matter related to PAL that didn't -- that you discussed   5 example of that?
 6 with Ms. Cintron on that evening that didn't relate to    6     A. The Tucker PAL Center was created -- I don't
 7 those things -- those complaints from Ted Quali and the   7 remember what year, but it was endowed by Penn and it
 8 misperceptions and so forth?                              8 was named after Past Police Commissioner Kevin Tucker
 9     A. Absolutely. PAL funded a center for PAL where 9 and PAL -- I'm sorry, Penn endowed that, so it continues
10 we had a police officer from Philly and a police officer 10 to support financially that center.
11 from Penn police who staffed it. It was called the       11     Q. Right. So this would be an example of a donor
12 Tucker PAL Center. And I don't recall what location --   12 earmarking its money for a particular PAL center,
13 when she first came on it might have been that we had    13 correct?
14 just moved it from the Wilson School at 46th and         14     A. I guess that would be correct, yes.
15 Woodland to 4040 Ludlow Street. It was a small center. 15       Q. Okay. And so when that would be done, those
16 The school closed and we -- we had to move the center.   16 funds given by that donor, all those funds would go
17       So I was very -- you know, obviously, we were      17 toward the programming at that particular PAL center and
18 funding that and one of my police officers was assigned 18 the staffing of that particular PAL center; is that
19 there. So I'm sure we talked a lot about -- about the    19 correct?
20 model, because there was no other -- there was no other 20      A. The staffing's separate.
21 joint model like that, and I don't believe there still   21     Q. Okay.
22 is with PAL and the police department. So I'm sure we    22     A. The budget for PAL would have, you know, a line
23 talked a lot about that as well.                         23 for the Tucker PAL Center because there was an
24     Q. Okay. So Penn and PAL -- and I may have           24 endowment. Police officers are not part of the budget
                                                      Page 65                                                              Page 67
 1 misunderstood you earlier -- there is some relationship          1 for PAL.   Police are put there. They're still paid for
 2 between the University of Pennsylvania and the Police            2 out of the city. Same thing. Penn still paid for all
 3 Athletic League, correct?                                        3 the expenses of that officer assigned, so it was really
 4    A. In that we have a relationship informing a                 4 just running the center.
 5 board -- not a board -- a center, you know, paying for           5     Q. But the -- there's -- is there no civilian
 6 the center and staffing it with one Penn police officer          6 personnel at the PAL center?
 7 and they staff it with one Philadelphia officer.                 7     A. Not all the time, no. Not at times. It's just
 8    Q. Sure. But -- I'm sorry, Ms. Rush, but you make             8 the officers running it.
 9 it seem as though PAL was in the business of doing               9     Q. Okay. So, in any event, the earmarking of
10 something else, like they're -- I mean, that's -- that's        10 funds by donors, how would that impact your PAL centers
11 really the only kind of relationship you could have with        11 generally?
12 PAL, isn't it?                                                  12       In other words, isn't the result that some PAL
13    A. I'm sorry. I don't understand your question.              13 centers are, essentially, poor centers; whereas, other
14    Q. The Tucker PAL Center, that's a PAL center,               14 centers like the Tucker Center may have, you know, an
15 correct? It's like an actual PAL center; is that right?         15 endowment from someone like the University of
16    A. Correct.                                                  16 Pennsylvania?
17    Q. And there are approximately 27 or 30 PAL                  17       ATTORNEY GOLDEN: Objection.
18 centers throughout Philadelphia; is that right?                 18       ATTORNEY ULAK: I'll join.
19    A. Correct.                                                  19       THE WITNESS: The goal is always to have all
20    Q. And that is what PAL is in the business of                20 centers provide the best level of service and care for
21 doing, having PAL centers, correct?                             21 our children of Philadelphia.
22    A. Correct.                                                  22 BY ATTORNEY FITZPATRICK:
23      ATTORNEY GOLDEN: Objection.                                23     Q. Well, service and care is one thing. But there
24 BY ATTORNEY FITZPATRICK:                                        24 is also facilities, there's programming. The way that

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 1 PAL is funded through these donors it seems that it           1     Q. In other words, it's not earmarked. So it's
 2 lends itself to opportunities for built-in disparagement      2 left to the discretion of the board to determine how to
 3 between the centers.   Wouldn't you agree?                    3 spend that money on the administration of PAL across all
 4        ATTORNEY GOLDEN: Objection.                            4 of its centers, correct?
 5        THE WITNESS: No, I would not agree.                    5     A. Yes, it's -- it's going for all sorts of
 6 BY ATTORNEY FITZPATRICK:                                      6 centers, yes.
 7     Q. Well, the disparities between the centers --           7     Q. Right. And in doing so, there are decisions
 8 again, the Tucker PAL Center, which we'll use as an           8 made concerning which centers receive funding for
 9 example, because I take it that you're pretty -- pretty       9 certain programs and for certain facilities'
10 familiar with the Tucker PAL Center. Is it safe to say       10 improvements or repairs and which ones don't, correct?
11 that is a well-funded PAL center, wouldn't you agree?        11     A. Yes.
12        ATTORNEY GOLDEN: Objection.                           12     Q. Okay. And were you aware of Lieutenant
13        THE WITNESS: Well, actually, it doesn't exist         13 Cintron's challenging PAL's failure to provide funding
14 at the moment because it lost the home there.                14 to make certain repairs -- necessary repairs at the
15        I would say that the majority of funds are not        15 Wissinoming Center?
16 pointed at any particular center. They are general fund      16        ATTORNEY GOLDEN: Objection.
17 contributions. And just like that, we at Penn would          17        THE WITNESS: I answered this earlier. I was
18 contribute. I would contribute personally to general         18 not aware of that.
19 funds so that all the centers could be cared for in the      19 BY ATTORNEY FITZPATRICK:
20 best possible way.                                           20     Q. Okay. Well, now. But before I was asking you
21 BY ATTORNEY FITZPATRICK:                                     21 about the Wissinoming. Now I'm asking about Cintron's
22     Q. The funds that would be considered general            22 efforts.
23 funds, those are funds that are not earmarked to a           23        Were you aware of any efforts by Lieutenant
24 particular center, correct?                                  24 Cintron to get PAL -- excuse me -- to get PAL to
                                                      Page 69                                                              Page 71
 1      A. Correct.                                              1 disburse the funds that it had in a more even-handed
 2      Q. Thus, general?                                        2 manner so that poor children and minority communities
 3      A. General.                                              3 would have PAL centers that were just as nice as the PAL
 4      Q. And then it would be up to the board to               4 centers in majority communities? Do you recall any of
 5 determine how to distribute those funds between its           5 that discussion?
 6 nearly 30 PAL centers, correct?                               6    A. No.
 7      A. Well, the funding doesn't just cover a center.        7       ATTORNEY FITZPATRICK: Okay. Can we take a
 8 It covers running PAL. It's personnel, civilian               8 two-minute break here? I think we're just about done,
 9 personnel, et cetera, the headquarters.                       9 but I'd like to take a quick break. Is that all right?
10        So, yeah, I mean, you're running a large              10       ATTORNEY GOLDEN: Can we take five, that way we
11 organization and are definitely -- you know, our             11 can use the restroom?
12 facilities group is looking to make sure, you know,          12       ATTORNEY FITZPATRICK: Yes.
13 repairs are made, et cetera, et cetera. So, you know,        13       (A break was taken 11:38 a.m. to 11:49 a.m.)
14 it's an -- it's an ongoing issue to ensure that we have      14 BY ATTORNEY FITZPATRICK:
15 the best facilities in the neighborhoods where the           15    Q. So, Ms. Rush, I'd like to just cover a couple
16 children need it the most.                                   16 of other things with you.
17      Q. Okay. And beyond facilities, there's also            17       One is the Tucker PAL Center. Now, how is it
18 programming, correct?                                        18 that the Tucker PAL Center came to be?
19      A. Yes.                                                 19    A. It was something that the executive vice
20      Q. Okay. And going back to my question before           20 president at the time, John Fry, worked with my
21 that I was simply pointing out that it's the board's         21 predecessor, Tom Seamon, to -- Tom was a long-time
22 responsibility to figure out how to spend that money in      22 member of PAL, the PAL board -- to honor, you know,
23 the general fund, correct?                                   23 Kevin -- Kevin Tucker was -- had left the department as
24      A. Yeah, that's correct.                                24 commissioner. And they just decided they wanted to open

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 1 a center -- be the first to open a center that would be         1 there when I joined the board, because I joined the
 2 supported by, not only financially, but supported by            2 board as -- when I was promoted to vice president, and
 3 having a police officer assigned there.                         3 so Tom Seamon left and I ended up taking his position on
 4       And the first -- the first Tucker PAL was at        4 the board.
 5 46th and -- I think it was 46th and Woodland, the Wilson 5        The Tucker PAL was at 46th and Woodland and
 6 School, until it closed. The school closed. Then we       6 happily there until the School District of Philadelphia
 7 moved it over to the Elwyn Institute at an annex at 4040  7 shut the building down and we were evicted. So we had
 8 Ludlow. And then that was sold.                           8 to find someplace to put the PAL center in a proximity
 9       And so PAL has been trying to find an               9 close enough that we could still have the same children
10 appropriate home for the Tucker PAL Center. So it's      10 coming to the center.
11 kind of grouped into another center at the moment.       11     Q. Right. I'm just asking, were you on the PAL
12    Q. Right. But the Tucker PAL Center -- it sounds      12 board when that all happened?
13 like that's the University City type area.               13     A. When -- when the school shut down?
14    A. Yeah, but it wasn't -- we don't have -- we         14     Q. Yeah. When you went from 46th and Woodland to
15 wanted to be able to support the kids that lived west of 15 4040 Ludlow, were you on the PAL board when that
16 University City and that's why the original PAL center   16 happened?
17 was at 46th and Woodland.                                17     A. Yes, I was.
18       PAL looks at centers -- locations to where they    18     Q. Okay. All right. Were there any other PAL
19 can best serve children where there are holes in that    19 officials on the PAL board when that happened?
20 service. So that was totally up to PAL to put the        20     A. No.
21 center where they wanted it.                             21     Q. Okay. And how long did that PAL center stay
22    Q. Okay. All right. Because -- and that's             22 open?
23 exactly the -- the thrust of my question is that I'm     23     A. I'd be guessing. I would say a couple years.
24 familiar with that area and there aren't a whole bunch   24 And then we were notified that the Elwyn Institute was
                                                       Page 73                                                                 Page 75
 1 of kids over there.                                             1 leaving and we were able to stay until a developer said
 2    A. Exactly. Exactly.                                         2 that they needed us to move out.
 3    Q. Okay. So -- okay. But at any rate, what                   3    Q. Okay. But were they servicing kids at that
 4 you're telling us is that this center, the Tucker PAL           4 location?
 5 Center, that was something that was in the works before         5    A. Um-hum. Very much so.
 6 your participation on the PAL board?                            6       Actually, there are town homes at 40th and
 7    A. Correct.                                                  7 Market and there were a lot of children there that were
 8    Q. All right. But had it been completed prior to             8 served. And then we would transport kids who had been
 9 your participation on the PAL board?                            9 over at 46th and Woodland. PAL donated -- I'm sorry.
10    A. No, it had not. I had not been on the board              10 Penn donated a van for PAL marked as PAL and they would
11 yet, no.                                                       11 transport the kids who were part of the Tucker PAL at
12    Q. Okay. So is it fair to say that this was                 12 46th and Woodland so they would still be part of the
13 completed during your participation on the PAL board?          13 center.
14    A. No. Actually, it was started and in motion at            14    Q. Were there other PAL centers that bussed the
15 46th and Woodland before I became a member of the PAL          15 kids to the PAL center?
16 board.                                                         16    A. Sometimes, yeah.
17    Q. Okay. So Tucker PAL had already began prior to           17    Q. All right. That strikes me as a bit odd for a
18 you being on the PAL board?                                    18 PAL center, because my understanding is that typically
19    A. That's correct.                                          19 PAL centers, they're kind of like community centers and
20    Q. It was just at the 46th and Woodland location?           20 they draw from the walking -- the walking children
21    A. Correct.                                                 21 within that community.
22    Q. And while you were on the PAL board you got it           22       Are you telling me that's not the case?
23 moved to the 4040 Ludlow location?                             23    A. That is -- that is the normal case and that is
24    A. I didn't get it moved. I was -- it was still             24 the utopia of what we look for. We want to have

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 1 children have a safe place to do homework, walk in off            1    Q. Well, just so that we're clear -- because I
 2 the street.                                                       2 don't want to misunderstand you and I don't want you to
 3        And sometimes centers get shut down and that               3 mislead me -- there's a difference between special
 4 has to -- you know, we don't own them.       We're leasing as     4 programming like going to Penn Relays or going to a
 5 a PAL company and we do the very best we can to get               5 tournament or going to an event. There's a difference
 6 property in the neighborhood where the children need to           6 between that and the regular Monday through Friday,
 7 be served.                                                        7 Monday through Thursday playing basketball at the PAL
 8     Q. Okay. On the -- speaking of that and the                   8 center. There's a difference between the two.
 9 facilities, at the time -- do you recall that at the              9       And what I understood you to tell me earlier is
10 time that Lieutenant Cintron comes to PAL there was a            10 that PAL would bus children to participate at the actual
11 four-year backlog of emergency repairs required to be            11 PAL center and the regular PAL activities. Is that what
12 made at various centers? Do you recall that?                     12 you were telling me or were you telling me about bussing
13     A. I do not.                                                 13 for special events?
14     Q. You don't recall any backlog for repairs or am            14    A. Well, first off, we don't bus them. We have
15 I just wrong about the number, like, you recall a                15 very nice 12-person vans.
16 three-year number and I said four or is it that you              16       Secondly, not all kids -- when the Wilson
17 don't recall this issue at all?                                  17 School closed, some of the children were absorbed in a
18     A. I don't recall.                                           18 closer center to them. Other children would have to
19     Q. You don't recall the issue at all?                        19 come to the current location for Tucker PAL. That was
20     A. I don't recall.                                           20 never meant to be a full-time location for the Tucker
21     Q. Okay. And so when PAL would pick up children              21 PAL center.
22 to participate in the PAL program at the PAL center, how         22       But having no center, having somewhere to take
23 does -- how does that -- how does that work?                     23 the children and make sure they had a continuality of
24 Logistically, how does that work?                                24 care and knowledge of the police officers that are
                                                          Page 77                                                            Page 79
 1     A. I don't understand your question.                  1 almost like their parents, that was a temporary solution
 2     Q. I'm saying that you just told us that in the       2 to any child who -- we weren't going to have children
 3 case of the Tucker PAL Center, and even in the case of    3 walking anywhere. Even -- even in the centers that are
 4 some other PAL centers, PAL picks up the children and     4 close, there are issues around children being scared to
 5 they bring the children to the PAL center to participate  5 walk around, especially today.
 6 in the program.                                           6       So this was a quick shutdown of a school. We
 7       In a perfect world the children could walk to       7 needed to do something for the children. We were able
 8 the PAL center. But you said that in some cases PAL       8 to get a quick rental and we continually to this day try
 9 picks up the children and brings them to the PAL center   9 to look for a center where the Tucker PAL can get a
10 to participate in the program.                           10 permanent home or be together with another center that
11       And what I'm asking you is, logistically, how      11 would be -- that would serve a similar demographic.
12 would that work?                                         12     Q. Okay. I'm afraid that's not responsive to my
13     A. Well, there's -- there's times that the           13 question.  My question is -- I understand that children
14 children are transported to -- for example, they were    14 are bussed to special PAL events; Penn Relays,
15 always welcome to Penn Relays. We had -- Penn hosted 15 tournaments, things of that nature. Those are meet at
16 the citywide PAL Day at the Pulaski for basketball.      16 the PAL center -- just so that you know, I was a PAL kid
17     Q. Okay.                                             17 once myself. Meet at the PAL center early in the
18     A. And PAL centers would take their -- they all      18 morning, we get on those nice PAL vans, and you might go
19 had vans and they would transport their kids. So they    19 someplace, okay? That's different from the regular
20 would all participate equally in the fun.                20 day-to-day PAL programming, after school, homework,
21       We did the ice rink. There were other events       21 playing basketball. That's different.
22 around the city where the kids would be transported.     22       Are you telling us that children were taken in
23 And that wasn't that unusual, actually, and logistically 23 vans to the PAL center to participate in the regular PAL
24 it works.                                                24 day-to-day activities?

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 1     A. So I'm not arguing with you that they're          1 me was police officers being able to go into
 2 different, number one. What I'm saying to you was the    2 neighborhoods where the PAL center is not located but
 3 distance between where the Tucker PAL was at 46th and 3 pick up children and transport them to the PAL center
 4 Woodland and where the temporary location was at 4040 4 although temporarily, you don't know how that was done
 5 Ludlow necessitated the officers assigned to the Tucker  5 logistically? You don't know what your exposure was in
 6 PAL center to identify students that wanted to still     6 terms of insurance, whether there were permission slips?
 7 come to be part of the Tucker PAL center, to be part of  7 You don't know anything about that; is that what you're
 8 that officer's cadre, and they transported those         8 telling me?
 9 students after school who wanted to come and made sure 9         ATTORNEY GOLDEN: Objection. Go ahead.
10 they were transported back safely to their homes. And,  10       THE WITNESS: I said I am not -- I don't direct
11 again, it's not -- not utopia, but better than having   11 the logistics. The commanding officer of PAL would be
12 them not have a place to go.                            12 responsible to work with their officers to make sure the
13     Q. And my question to you originally was,           13 children are safely transported.
14 logistically, how would that transportation work? And   14 BY ATTORNEY FITZPATRICK:
15 that's when you started talking about Penn Relays. I'm  15     Q. Okay. So then would it surprise you that the
16 not talking about Penn Relays. I'm talking about these  16 commanding officer, Lieutenant Cintron, says that that
17 officers of yours who you say would go get students so  17 is not something that PAL ever did?
18 that they could continue to participate in the regular  18       ATTORNEY GOLDEN: Objection.
19 PAL program. Logistically, how would that work? Are 19           THE WITNESS: I have no idea what she knows or
20 they picking these kids up at their homes? Are they     20 doesn't know.
21 picking them up at the school? Do they have permission 21 BY ATTORNEY FITZPATRICK:
22 slips from their parents? How does it work?             22     Q. Well, where did you hear that this was
23     A. Well, I'm not that deep into the logistics of    23 happening? Where do you get your information?
24 that. That is something that the -- the police          24     A. At board meetings.
                                                    Page 81                                                             Page 83
 1 commanding officer of the police officers assigned to         1    Q. At board meetings.
 2 PAL would work out.                                           2       So who at a board meeting told you that
 3    Q. In fact, Ms. Rush, you have never seen any              3 children were being bussed to the PAL -- not bussed,
 4 student or any child be transported to a PAL center for       4 because you don't like that term, right -- so vanned to
 5 regular PAL activities, have you?                             5 the PAL center in the nice vans for their regular PAL
 6       ATTORNEY GOLDEN: Objection. Go ahead.                   6 activities? Who told you that? Who reported that at a
 7       THE WITNESS: Have I seen or have I --                   7 board meeting?
 8 BY ATTORNEY FITZPATRICK:                                      8    A. Some centers would be closed for repairs and
 9     Q. Yes. Have you seen it? Have you seen it?               9 the children would be grouped with other centers. It
10     A. I haven't seen it but I have heard of.                10 wasn't often, but it happened. And who specifically
11     Q. So -- but you've heard -- you've heard of it;         11 told me that? I have no idea.
12 is that what you're saying?                                  12    Q. You have no idea because you just made that up,
13     A. Yes.                                                  13 didn't you?
14     Q. But although you've heard of it, you have no          14       ATTORNEY GOLDEN: Objection.
15 idea logistically how it works, correct?                     15       THE WITNESS: I'm insulted by that question. I
16     A. I am not the logistical person for                    16 have a passion for PAL centers.
17 transportation of PAL students, correct.                     17 BY ATTORNEY FITZPATRICK:
18     Q. Right. But you would, obviously, understand           18    Q. You don't know who told you. You don't know
19 that safety and security would be a concern, correct?        19 how it's done, correct? You've never seen it done.
20       ATTORNEY GOLDEN: Objection.                            20       You said the commanding officer would be
21       THE WITNESS: It's our highest concern.                 21 responsible for doing it. I just told you the
22 BY ATTORNEY FITZPATRICK:                                     22 commanding officer says that it's not done and you're
23     Q. Okay. And so although safety and security is          23 insulted by the insinuation that you made that up?
24 your highest concern, and what you've just described to      24       ATTORNEY GOLDEN: Objection.
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 1        THE WITNESS: I have no answer to that other            1 where you had been in her presence, correct?
 2 than what I've told you five times.                           2        ATTORNEY GOLDEN: Objection.
 3 BY ATTORNEY FITZPATRICK:                                      3        THE WITNESS: I don't know specifically how
 4     Q. Last question. There was -- you said there was         4 many board meetings, so I can't say yes or no.
 5 a meet-and-greet -- this meet-and-greet meeting that you      5 BY ATTORNEY FITZPATRICK:
 6 had with Lieutenant Cintron, the dinner, but there was        6    Q. Well, you presented this as a meet-and-greet
 7 actually a meet-and-greet with Lieutenant Cintron prior       7 that you would do for anyone who is new to a position
 8 to that dinner at your office where you introduced her        8 and coming in and taking over a position. That --
 9 to the staff; isn't that right?                               9 that's how you described this meeting -- this dinner
10     A. In my conference room, yes.                           10 meeting with Lieutenant Cintron, correct?
11     Q. Okay. So you led us to believe that this              11    A. And I still stand by that.
12 meeting -- this dinner meeting was a meet-and-greet and      12    Q. Okay. And I'm simply pointing out that this
13 now you're telling me that you had actually previously       13 wasn't her first week on the job that you had this
14 had a meet-and-greet with her.                               14 dinner meeting with her for a meet-and-greet, was it?
15        ATTORNEY GOLDEN: Objection.                           15    A. Correct.
16        THE WITNESS: The first meeting was with her           16    Q. Right. She was -- she was well into her time
17 staff and my staff. It was very high level and it was        17 there; is that correct?
18 just to introduce her to what our officers do with the       18    A. She was still --
19 PAL and with Tucker PAL.                                     19        ATTORNEY GOLDEN: Objection.
20        The second meeting, the dinner, was a                 20        THE WITNESS: She was still early in her time
21 one-on-one meet-and-greet, which was very different -- a     21 there.
22 different level of communication at that meeting.            22 BY ATTORNEY FITZPATRICK:
23 BY ATTORNEY FITZPATRICK:                                     23    Q. Define early.
24     Q. You defined it as the first meeting and the           24    A. I don't know. I don't even know when she
                                                      Page 85                                                               Page 87
 1 second meeting.    But you had numerous opportunities and     1 started and I don't even know when the dinner was, but
 2 occasions to meet with Ms. Cintron prior to that dinner       2 it felt early with me.
 3 meeting; isn't that right?                                    3       And perhaps the word meet-and-greet is what's
 4    A. I'm sorry. Did I have an opportunity, are you           4 confusing to you. Because to me, meet-and-greet is
 5 saying?                                                       5 where you can really get down and talk to people as
 6    Q. Did you actually meet with her on numerous              6 opposed to meeting people at board meetings, meeting
 7 occasions prior to that dinner meeting? At board              7 people in meetings, corporate meetings. There's that
 8 meetings, did you see her at board meetings?                  8 and then there's a one-on-one dinner.
 9    A. I saw her. I didn't have conversations with             9       So I apologize if my designation of this was a
10 her. I didn't sit down and have a meal with her.             10 meet-and-greet as opposed to let's have dinner and get
11    Q. I know there's only one time that you had a            11 to know each other better.
12 meal. I'm simply saying that that wasn't the first time      12     Q. You -- that dinner was a woman-to-woman
13 that you met her at dinner. That wasn't the first time       13 meeting, that's what that dinner was, isn't it? That's
14 meeting her, correct?                                        14 what that dinner was?
15    A. Correct.                                               15     A. That dinner was a person-to-person meeting who
16    Q. Right. And it wasn't the second time meeting           16 happened to be two woman who had some shared experiences
17 her because we know that you had the meet-and-greet with     17 in life.
18 your office. So you at least had met her on that             18       ATTORNEY FITZPATRICK: Okay. Thank you so
19 occasion; yes?                                               19 much, Ms. Rush. I don't have any other questions for
20    A. Yes.                                                   20 you at this time.
21    Q. And you had at least seen her during the               21       Mr. Golden might have some questions.
22 interview process, correct?                                  22       ATTORNEY GOLDEN: Sharon, do you have any
23    A. Yes.                                                   23 questions?
24    Q. And there had been multiple board meetings             24       ATTORNEY ULAK: Yeah, I actually do have a
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 1 couple of questions. I actually really only have one
 2 though.
 3               EXAMINATION
 4 BY ATTORNEY ULAK:
 5    Q. Ms. Rush --
 6        ATTORNEY ULAK: Well, maybe it's a couple of
 7 questions. I'm sorry.
 8 BY ATTORNEY ULAK:
 9    Q. Ms. Rush, I want to go back to this dinner
10 that's been the subject of so much debate today. Do you
11 recall approximately what -- like, do you recall the
12 year in which this dinner occurred?
13    A. I've got to tell you, no. I mean, it was -- it
14 was the year she was first on board, whatever year that
15 was.
16    Q. Okay. Do you happen to recall who the deputy
17 commissioner who would have been overseeing PAL was at
18 the time of the dinner?
19    A. I believe -- I believe it was Joe Sullivan.
20        ATTORNEY ULAK: Okay. Thank you.
21        ATTORNEY GOLDEN: No questions on my part.
22        ATTORNEY FITZPATRICK: Okay. Thank you very
23 much. That's all I have.
24                * * * *
                                                          Page 89
 1       ATTORNEY GOLDEN: Ms. Miller, can we order a
 2 copy? It's kgolden, g-o-l-d-e-n, at ohagenmayer.com.
 3       You know what, send me an e-mail and just reach
 4 out to me and let me think about that and then I'll
 5 confirm my answer once I have some time to think about
 6 it.
 7       ATTORNEY ULAK: Ms. Miller, I also would like
 8 to request a copy of the transcript. I want full only,
 9 electronically. My e-mail address is Sharon,
10 s-h-a-r-o-n, dot, ulak@phila.gov.
11       ATTORNEY FITZPATRICK: I will need before
12 Thanksgiving. Full size at -- you have my e-mail
13 already.
14                * * * *
15            (Deposition concluded)
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   1     COUNTY OF LANCASTER                       :
                                                        SS
   2     COMMONWEALTH OF PENNSYLVANIA:

   3
                             I, Lisa L. Miller, RPR, a Notary Public of
   4
         the Commonwealth of Pennsylvania, County of Lancaster,
   5
         do hereby certify that the foregoing was taken
   6
         stenographically by me on November 3, 2023, and that
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         this transcript is a true and correct transcript of the
   8
         same, fully transcribed under my direction, to the best
   9
         of my ability and skill.
 10
                             I further certify that I am not a relative
 11
         or employee of any of the parties in this action; that I
 12
         am not a relative or employee of any attorney in this
 13
         action; and that I am not financially interested in the
 14
         event of this action.
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                             As witness my hand and Notarial Seal this
 16
         17th day of November 2023.
 17

 18

 19                                          _____________________________
                                             Lisa L. Miller, Notary Public
 20
                                            Notary Public in and for the
 21                                       Commonwealth of Pennsylvania

 22                                          My Commission expires:                       6/26/2024

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 executive (92)              foregoing (1)              group (1)                      ideas (1)
 EXHIBITS (1)                forgive (1)                grouped (2)                    identify (1)
 exist (1)                   form (1)                   groups (1)                     impact (4)
 expect (1)                  formally (1)               grow (1)                       impression (2)
 expected (1)                forming (1)                guess (5)                      improvements (1)
 expenses (1)                forth (1)                  guessing (1)                   include (3)
 experience (9)              forthcoming (2)            Guidance (5)                   including (1)
 experiences (1)             forward (1)                guide (1)                      INDEX (2)
 expires (1)                 found (1)                                                 individuals (4)


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 inform (1)                  kgolden@ohaganmaye        long (2)                       misperception (1)
 informally (1)              r.com (1)                 longer (1)                     misperceptions (16)
 information (12)            kid (1)                   long-term (1)                  mission (4)
 informing (1)               kids (12)                 long-time (3)                  misunderstand (2)
 Inn (4)                     kind (16)                 look (2)                       misunderstood (1)
 inside (2)                  kinds (2)                 looking (1)                    mixture (1)
 insinuation (1)             knew (4)                  looks (1)                      model (4)
 Institute (2)               know (86)                 lost (1)                       moment (4)
 insult (1)                  knowing (1)               lot (13)                       Monday (2)
 insulted (2)                knowledge (6)             Ludlow (5)                     money (8)
 insurance (1)               knows (1)                 lunch (3)                      month (1)
 intend (2)                                                                           monthly (9)
 intending (2)               <L>                       <M>                            months (1)
 intention (2)               Labor (1)                 ma'am (1)                      morning (4)
 interacted (1)              LANCASTER (2)             maintenance (6)                motion (1)
 interacting (1)             large (1)                 majority (2)                   motivations (1)
 interaction (2)             Law (4)                   making (3)                     MOU (6)
 interactions (2)            leader (2)                male (4)                       mouth (1)
 interested (2)              leadership (17)           man (1)                        move (3)
 interesting (1)             leading (1)               manner (1)                     moved (4)
 Interim (1)                 League (12)               marked (1)                     multi (1)
 interview (3)               leasing (1)               Market (2)                     multiple (1)
 interviewed (1)             leave (1)                 matter (1)
 introduce (2)               leaving (2)               matters (1)                    <N>
 introduced (1)              led (1)                   Maureen (4)                    name (5)
 invitation (1)              left (4)                  MAYER (1)                      named (1)
 invited (3)                 lends (1)                 meal (3)                       name's (1)
 involved (10)               level (5)                 mean (8)                       nature (2)
 involvement (1)             liaison (1)               meant (2)                      nearly (1)
 ISAAC (2)                   lialson (1)               meet (11)                      necessarily (2)
 issue (8)                   Lieutenant (64)           meet-and-greet (29)            necessary (1)
 issues (14)                 lieutenant's (1)          Meet-and-greets (1)            necessitated (1)
 item (2)                    life (2)                  meeting (63)                   need (8)
 items (3)                   limit (1)                 meetings (34)                  needed (7)
 its (3)                     line (7)                  member (21)                    needs (1)
                             Lisa (4)                  members (9)                    neighborhood (1)
 <J>                         list (1)                  Memorandum (13)                neighborhoods (2)
 job (4)                     listing (1)               men (7)                        never (13)
 jobs (1)                    litigation (2)            mention (2)                    new (16)
 Joe (1)                     little (3)                message (1)                    nice (5)
 John (1)                    lived (1)                 met (8)                        Nisenbaum (2)
 join (2)                    LLC (1)                   midterm (1)                    Nomination (2)
 joined (3)                  located (1)               Mike@barrettdeangel            nominations (5)
 joint (1)                   location (7)              o.com (1)                      normal (1)
                             locations (1)             Miller (5)                     Notarial (1)
 <K>                         logistical (1)            MINCEY (1)                     Notary (3)
 KEVIN (4)                   Logistically (7)          mind (1)                       not-for-profit (4)
 key (2)                     logistics (2)             minority (1)                   notified (1)
 kgolden (1)                 logo (1)                  mislead (1)                    November (3)


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 number (6)                  overlapped (1)             Plaintiff (2)                  provided (1)
 numerous (4)                oversaw (1)                planning (2)                   providing (2)
                             oversee (1)                play (1)                       provision (1)
 <O>                         overseeing (1)             playing (2)                    proximity (1)
 objected (1)                oversees (1)               please (1)                     Public (10)
 Objection (35)                                         plowed (1)                     Pulaski (1)
 objections (1)              <P>                        point (11)                     purpose (5)
 obviously (4)               Page (1)                   pointed (3)                    put (5)
 occasion (1)                paid (2)                   pointing (3)
 occasions (2)               PAL (191)                  Police (96)                    <Q>
 occur (1)                   PAL's (1)                  poor (4)                       Quali (19)
 occurred (3)                pamphlet (2)               position (21)                  Quali's (1)
 odd (1)                     parents (2)                positions (4)                  quarterly (1)
 offer (2)                   part (16)                  possible (1)                   question (35)
 office (3)                  participate (7)            Possibly (1)                   questions (6)
 officer (50)                participated (1)           practice (2)                   quick (3)
 officers (22)               participation (3)          Prazenica (4)                  quite (5)
 officer's (1)               particular (7)             preceded (1)
 offices (1)                 parties (3)                predecessor (1)                <R>
 officially (1)              partnership (2)            predominantly (4)              Rabena (6)
 officials (2)               passion (1)                presence (1)                   Rabena's (1)
 O'HAGAN (1)                 patrol (2)                 present (3)                    race (1)
 ohagenmayer.com (1)         paying (1)                 presented (3)                  raise (3)
 Okay (174)                  pending (3)                President (17)                 rank (2)
 old (1)                     Penn (29)                  pretty (4)                     ranks (2)
 onboard (2)                 Penne (1)                  preventative (3)               rate (2)
 onboarding (1)              P-e-n-n-e (1)              previous (5)                   reach (2)
 once (6)                    PENNSYLVANIA               previously (2)                 read (2)
 one-on-one (3)              (16)                       prior (19)                     real (1)
 ones (2)                    people (22)                private (1)                    realize (1)
 ongoing (1)                 perfect (1)                privy (1)                      really (14)
 open (3)                    performance (1)            probably (5)                   recall (91)
 operates (2)                performed (2)              problem (1)                    receive (2)
 operating (1)               peripheral (2)             problems (1)                   received (3)
 operation (1)               peripherally (1)           procedure (1)                  recollection (3)
 opportunities (2)           permanent (1)              proceed (1)                    recorded (1)
 opportunity (6)             permission (2)             process (1)                    referring (3)
 opposed (2)                 person (9)                 program (4)                    regarding (15)
 order (1)                   personally (1)             programming (10)               Regardless (1)
 orders (1)                  personnel (5)              programs (1)                   regular (7)
 organization (3)            person-to-person (1)       promised (1)                   re-invigorated (1)
 organizations (1)           PHILADELPHIA               promoted (3)                   relate (1)
 original (2)                (28)                       promotion (1)                  related (11)
 originally (1)              Philly (2)                 promotions (1)                 relates (1)
 outline (3)                 phone (2)                  proof (1)                      relationship (5)
 outlined (2)                pick (2)                   property (1)                   relative (2)
 outlining (1)               picking (2)                proponents (1)                 relatively (2)
 overbudget (1)              picks (2)                  proud (1)                      Relays (5)
 overlap (1)                 place (10)                 provide (4)                    remained (3)


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 remember (9)                Safety (10)                simpler (1)                    strategy (1)
 remembering (1)             Samson (1)                 simply (9)                     Street (7)
 rental (1)                  saw (1)                    simultaneous (1)               strikes (1)
 repair (3)                  saying (23)                sit (6)                        structure (2)
 repaired (1)                says (3)                   sits (1)                       student (1)
 repairs (8)                 scared (1)                 sitting (2)                    students (5)
 rephrase (1)                scenes (1)                 size (1)                       stuff (1)
 report (6)                  School (11)                skill (1)                      style (2)
 reported (2)                Seal (1)                   skills (8)                     subject (1)
 Reporter (1)                sealing (1)                slips (2)                      subsequently (2)
 reporting (1)               Seamon (3)                 small (1)                      substandard (1)
 reports (4)                 S-e-a-m-o-n (1)            sold (1)                       succeed (4)
 represent (1)               seat (1)                   Solicitor (1)                  successful (4)
 representative (1)          second (3)                 solution (1)                   Suite (2)
 representatives (1)         Secondly (1)               solvency (1)                   Sullivan (2)
 request (1)                 secretary (3)              somebody (1)                   Support (4)
 requested (2)               security (3)               someplace (2)                  supported (2)
 required (1)                see (5)                    somewhat (1)                   supportive (1)
 reserved (1)                seeing (2)                 sorry (18)                     supposed (1)
 respective (1)              seen (7)                   sorts (1)                      sure (25)
 responsibilities (6)        send (1)                   sounds (2)                     surprise (4)
 responsibility (4)          senior (3)                 speak (2)                      switched (1)
 responsible (10)            separate (1)               speaking (4)                   sworn (2)
 responsive (1)              separation (1)             Special (4)                    Sylvia (3)
 rest (2)                    sequence (1)               specific (7)
 restaurant (2)              sergeant (1)               specifically (14)              <T>
 restroom (1)                sergeants (1)              specifics (1)                  take (16)
 result (2)                  serve (3)                  spend (2)                      Taken (5)
 retire (1)                  served (3)                 spoke (5)                      talk (10)
 retired (5)                 service (4)                SS (1)                         talked (9)
 retirement (1)              Services (1)               staff (7)                      talking (14)
 right (49)                  servicing (1)              staffed (1)                    tandem (1)
 rink (1)                    serving (1)                staffing (2)                   team (6)
 Rob (8)                     set (5)                    staffing's (1)                 Ted (23)
 role (32)                   setting (1)                stance (1)                     tell (15)
 roles (26)                  shared (2)                 stand (1)                      telling (35)
 roll (1)                    SHARON (3)                 stand-alone (1)                tells (1)
 Ron (8)                     s-h-a-r-o-n (1)            standard (4)                   temporarily (1)
 room (2)                    sharon.ulak@phila.go       start (1)                      temporary (2)
 ROSS (1)                    v (1)                      started (10)                   tenure (1)
 RPR (2)                     shift (1)                  STATES (1)                     term (2)
 rules (1)                   shortly (1)                statistics (1)                 terms (3)
 run (1)                     shut (3)                   stay (2)                       testified (1)
 running (6)                 shutdown (1)               stenographically (1)           testimony (4)
 Rush (25)                   sic (7)                    stepped (1)                    Thank (5)
                             side (3)                   stipulated (1)                 Thanksgiving (1)
 <S>                         sides (1)                  STIPULATION (1)                thing (7)
 safe (7)                    signing (1)                straighten (1)                 things (17)
 safely (2)                  similar (2)                strategic (2)                  think (15)


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 Thomas (3)                  unaware (1)                woman (19)
 thought (4)                 understand (14)            woman-to-woman (2)
 three (1)                   understanding (14)         women (10)
 three-year (1)              understood (2)             Woodland (10)
 thrust (1)                  unique (3)                 word (2)
 Thursday (1)                Unit (3)                   words (3)
 time (33)                   UNITED (1)                 work (19)
 times (9)                   University (11)            worked (8)
 timing (2)                  unusual (1)                working (12)
 today (7)                   use (3)                    works (3)
 told (25)                   utopia (2)                 world (3)
 Tom (4)                                                written (1)
 tons (2)                    <V>                        wrong (1)
 top (2)                     van (1)
 total (1)                   vanned (1)                 <Y>
 totally (2)                 vans (5)                   Yeah (10)
 tournament (1)              various (5)                year (10)
 tournaments (1)             verbally (1)               years (9)
 town (1)                    versus (4)                 yesterday (1)
 trailblazer (1)             Vice (10)                  young (1)
 trailblazing (1)            Victim (1)
 transcribed (1)             video (1)                  <Z>
 transcript (3)              Videoconference (1)        Zoom (1)
 transferred (1)             volunteer (1)
 transport (4)               vote (2)
 transportation (2)          VP (2)
 transported (6)             vs (1)
 treasurer (2)
 treat (1)                   <W>
 trial (1)                   waived (1)
 tried (2)                   walk (3)
 true (1)                    walking (4)
 truncate (1)                want (10)
 Trustees (1)                wanted (22)
 try (4)                     watching (1)
 trying (7)                  way (13)
 Tucker (27)                 ways (3)
 turn (1)                    week (1)
 tutoring (1)                welcome (3)
 twice (1)                   Well (60)
 two (7)                     well-funded (1)
 two-minute (1)              went (5)
 type (2)                    we're (10)
 typically (1)               west (1)
                             we've (1)
 <U>                         Wilson (3)
 ULAK (12)                   Wissinoming (5)
 ulak@phila.gov (1)          witness (34)
 Um-hum (1)                  WITNESSES (1)


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